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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

SCOTTY DEVON MILLER,                          )
                                              )
           Plaintiff,                         )
                                              )
  v.                                          )      CIVIL ACT. NO. 1:19-cv-136-ECM
                                              )                 (WO)
SHERIFF BLAKE TURMAN, et al.,                 )
                                              )
           Defendants.                        )

                         MEMORANDUM OPINION and ORDER

        On May 29, 2020, the Magistrate Judge entered a Recommendation (doc. 44) to

which no timely objections have been filed. After an independent review of the file and

upon consideration of the Recommendation, and for good cause, it is

        ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

and this case is DISMISSED without prejudice for the Plaintiff’s failures to prosecute

this action and comply with the orders of this Court.

        A separate Final Judgment will be entered.

        Done this 17th day of July, 2020.


                                         /s/ Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE
